














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


							




NO. PD-0922-12





	Vince McCoy Fields, APPELLANT



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRTWELFTH COURT OF APPEALS


SHELBY COUNTY


		


	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i),
because it does not contain a complete copy of the opinion of the court of appeals (page 2 is
missing).

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals of Texas within thirty (30) days after the date of this order.



Filed:   March 6, 2013

Do Not Publish.


